Document Number Case Number

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United States District Court
Western District of Wisconsin
Theresa M. Owens

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UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF WISCONSIN

 

TRENTON SCHEIBE,

Plaintiff,
v. Case No. 05-C-180-C
NATIONAL BOARD OF MEDICAL EXAMINERS,

Defendant.

 

AFFIDAVIT OF GERARD F. DILLON, PH.D.

 

STATE OF PENNSYLVANIA )
) ss.
COUNTY OF PHILADELPHIA _ )

I, Gerard F. Dillon, being first duly sworn on oath, depose and state that:

1. I am an adult resident of the state of Pennsylvania. I am the Associate Vice
President, United States Medical Licensing Examination (““USMLE™”) at the National Board of
Medical Examiners (“NBME”).

2. NBME has developed software, known as FRED™, for delivery of the computer-
based components of the USMLE™,

3. The NBME software allows examinees to highlight and strike out item text as
well as to annotate items on the computer-based multiple choice sections of USMLE™. The

annotation feature allows examinees to type brief notes electronically about individual items
 

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while taking the exam.

4. For all three steps of USMLE™, regardless of question format, examinees are
provided with note boards or paper, which they can use to take notes during the examination.
Examinees are not permitted to remove these materials from the testing center.

5. USMLE™ Step 3 is administered using the FRED™ software.

6. Examinees are encouraged to practice taking the examination using the FRED™
software by accessing sample materials available at the USMLE™ website and on the 2006
USMLE™ Orientation CD. A copy of USMLE™’s update on Test Delivery Software which

appears on its website is attached hereto as Exhibit No. 1.

I have read the above statement consisting of six (6) numbered paragraphs and swear that

the statements made therein are true and correct to the best of my personal knowledge.

Aa tt Dz.

/ Gerard F. Dillon

Dated this 20" day of March, 2006.

Subscribed and sworn to before me this 20" day of March, 2006

Ty —

tary Public ~
COMMONWEALTH OF PENNSYLVANIA ¥ ,

Notarial Seal issi
Patricia Weaver, Notary Public w se PIES teed
City Of Philadelphia, Philadelphia County

My Commission Expires Nov. 16, 2009

 

 

 

Member, Pennsylvania Association of Notaries
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